Case 3:21-cv-01029-DWD Document 1-2

©). CT Corporation

To: Kim Lundy- Email
Walmart Inc.
702 SW 8TH ST

Filed 08/19/21 Page 1of10 Page ID #9

Service of Process
Transmittal
07/23/2021

CT Log Number 539956319

BENTONVILLE, AR 72716-6209

RE: Process Served in Illinois

FOR: WALMART INC. (Domestic State: DE)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:

DOCUMENT(S) SERVED:

COURT/AGENCY:

NATURE OF ACTION:

ON WHOM PROCESS WAS SERVED:

DATE AND HOUR OF SERVICE:
JURISDICTION SERVED :
APPEARANCE OR ANSWER DUE:

ATTORNEY(S) / SENDER(S):

ACTION ITEMS:

REGISTERED AGENT ADDRESS:

Cuddeback Diana, Pltf. vs. Walmart, Inc., etc., Dft.
Name discrepancy noted.

Summons, Complaint, Affidavit(s), Entry

St Clair County Circuit Court, IL
Case # 21L0674

Personal Injury - Slip/Trip and Fall - 12/19/2019, Sam's Club located at 1350 W.
Highway 50, O'Fallon, IL

C T Corporation System, Chicago, IL

By Process Server on 07/23/2021 at 10:44

Illinois

Within 30 days after service, exclusive of the day of service

Earl W. Hubbs

Reed and Bruhn, P.C.

6464 W. Main Street, Suite 1B
Belleville, IL 62223
618-398-7027

CT has retained the current log, Retain Date: 07/23/2021, Expected Purge Date:
07/28/2021

Image SOP

C T Corporation System
208 South LaSalle Street
Suite 814

Chicago, IL 60604

877-564-7529
MajorAccountTeam2@wolterskluwer.com

The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained

therein.

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Ge) Wolters Kluwer

PROCESS SERVER DELIVERY DETAILS

 

 

 

Date: Fri, Jul 23, 2021
Server Name: Andrew Raphael
Entity Served WALMART INC.
Case Number 211674
Jurisdiction IL

 

 

 

 

 

 
 

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CIRCUIT COURT FOR THE 20TH JUDICIAL CIRCUIT uw " O
State of Illinols ) Ss Q
County of St. Clair) Case Number __21 LO674
Amount Claimed
DIANA CUDDEBACK
WALMART, INC., A DELAWARE
CORPORATION, d/b/a SAM'S
vs WEST, INC., AN ARKANSAS
— CORPORATION, d/b/a SAM'S
Plaintiff(s) CLUB Defendant(s)
Classification Prefix Code _ Nature of Action Code
SERVE THIS DEFENDANT AT:
Pitf. Atty.Earl W. Hubbs - 6196367 Code NAME CT Corporation System, Agent for
Address 6464 W. Main Street, Ste 1B Qe
City Belleville, IL 62223 __ Phone} 98-7027 Defendant
Add. Pitf. Atty. Code _ ADDRESS208 South LaSalle Street, Ste. 814
SUMMONS COPY
To the above named defendant(s). ..... : CITY & STATE Chicago, IL 60604

(Ch A. You are hereby summoned and required to appear before this court at

(court location) _ at M.On_ 20
to answer the complaint in this case, a copy of which is hereto attached. Lf you fail to do so, a judgment by default may
be taken against you for the relief asked in the complaint.

 

i 'B. You are summoned and required to file an answer to the complaint in this case, a copy of which is hereto
attached, or otherwise file your appearance, in the office of the clerk of this court within 30 days after service of this
summons, exclusive of the day of service. If you fail to do so, judgment of decree by default may be taken against you
for the relief prayed in the complaint.

E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first create an account with an e-filing service
provider. Visit https://efile. ilinoiscourts.gov/service-providers.htm to learn more and to select a service provider.

lf you need additional help or have trouble e-filing, visit http:/Awww. illinoiscourts.gov/FAQ/gethelp.asp.

TO THE OFFICER:

This summons must be returned by the officer or other person to whom it was given for service, with
indorsement thereon of service and fees if any, immediately after service. In the event that paragraph A of this
summons is applicable this summons may not be served less than three days before the day of appearance. If service
cannot be made, this summons shall be returned so indorsed.

This summons may not be served later than 30 days after its date.

WITNESS, (an12021 20

Elysia Agne

x : i He A Cag, Clerk of Court

Os, HAHALAITACENL Coreen
7 BY DEPUTY:

 

 

  

 

 

 

 

DATE OF SERVICE:__ 20

(To be inserted by officer on copy left with defendant
& or other person)

 

 
 

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I certify that ] served this summons on defendants as follows:

(a)~ (Individual defendants ~ personal):
By leaving a copy of the summons and a copy of the complaint. with each individual defendant personally as follows:

Name of defendant Date of service.

 

 

 

 

 

 

 

 

(b) - Undividual defendants - abode):

By leaving a copy of the summons and a copy of the complaint at the usual place of abode of each individual
defendant with a person of his family, of the age of 13 years or upwards, informing that person of the contents of the
summons, and also by sending a copy of the summons and of the complaint in a sealed envelope with postage fully
prepaid, addressed to each individual defendant at his usual place of abode, as follows:

Name of Person with Date of Date of
defendant whom left service. . mailing

 

 

 

 

(c) - Corporation defendants): ,
By leaving a copy of the summons and a copy of the complaint with the registered agent office, or agent of each
defendant corporation as follows:

 

 

 

 

 

 

 

 

 

 

Registered agent, Date of
Defendant corporation , officer or agent service
(a) - (Other service):
SHERIFF'S FEES Sheriff of County -

Service and return _—_._$ , Députy
Miles. we, $
Total... cece eee cece eee $
Sheriff of *: __ County

 
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‘ Electronically Filed
Kahalah A. Clay

Circuit Clerk
Elysia Agne
21L0674
St. Clair County
IN THE CIRCUIT COURT 7/21/2021 9:25 AM
OF THE TWENTIETH JUDICIAL CIRCUIT 14122423
ST. CLAIR COUNTY, ILLINOIS
DIANA CUDDEBACK, )
)
Plaintiff, )
)
VS. ) 21-L- 9674
)
WALMART, INC., A DELAWARE )
CORPORATION, d/b/a SAM’S WEST, INC., _ )
AN ARKANSAS CORPORATION, d/b/a )
SAM’S CLUB, )
)
Defendant. )
Serve Defendant at:
CT Corporation System
208 So. LaSalle Street, Ste. 814
Chicago, IL 60604
COMPLAINT

COMES NOW Plaintiff, Diana Cuddeback, by and through her attorneys, Reed and
Bruhn, P.C., and for her cause of action and Complaint against Defendant, Walmart, Inc., a
Delaware Corporation, d/b/a Sam’s West, Inc., an Arkansas Corporation, d/b/a Sam’s Club,

states as follows:

1.) On December 19, 2019, Walmart, Inc., a Delaware Corporation, d/b/a Sam’s
West, Inc., an Arkansas Corporation, d/b/a Sam’s Club (hereafter “Sam’s Club”) was a Delaware
Corporation authorized to do busincss in Illinois, and was doing business as Sam’s Club, a retail
store, operating at 1350 W. Highway 50 in O’Fallon, St. Clair County, Illinois, under terms of a

real estate device known as a net lease from the property owner, LSC O’Fallon, LLC. Said lease

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(on information and belief), requires the Defendant to maintain, preserve, and insure the land and

buildings covered under the lease.

2.) That on December 19, 2019, Plaintiff, Diana Cuddeback, was a customer
shopping at the Sam’s Club located at 1350 W. Highway 50 in O’Fallon, St. Clair County,

Iinois.

3.) That on the above-related date, Defendant leased (from owner, LSC O’Fallon,
LLC) a large parking lot adjacent to the Sam’s Club at 1350 West Highway 50, which lot
provided a parking area for the store’s customers. The lease (on information and belief) requires

Defendant to maintain, preserve and insure the parking lot.

4.) That at the above-related time and place, Defendant knew (or should have known)

that exposed bolts were protruding from Defendant’s parking lot.

5.) At all relevant times alleged herein, it was the duty of the Defendant to exercise
reasonable and ordinary care in maintaining its premises herein described and to warn its

customers of dangerous conditions of which Defendant was (or should have been) aware.

6.) At the above related date and place, Defendant, by its agents or employees,

breached its duty to Plaintiff in one or more of the following ways:

a,) Failed to exercise reasonable and ordinary care in maintaining its

premises;

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b.) Failed to warn Plaintiff of a dangerous condition (exposed bolts protruding

from the parking lot) on the premises
and

¢.) Failed to remove or eliminate a hazardous or unreasonably dangcrous

condition from the travel path on its property.

7.) That as a direct and proximate result of one or more of the foregoing negligent
acts or omissions of Defendant and/or its agents and employees, Plaintiff, Diana Cuddeback,

tripped on a bolt protruding from Defendant’s parking lot and fell, sustaining injuries as follows:

a.) Various muscles, ligaments, membranes, nerves, blood vessels and tissues

of her body were sprained, torn, cut, bruised or otherwise injured;

b.) She became sick, sore, lame and disordered and has so remained from the

date of injury to the present;

c.) She has suffered great pain and anguish by reason of her injurics and is
reasonably likely, to suffer additional great pain and anguish in the future by reason of

these injuries;

d.) She suffered injuries to her head, back, right hip, right hand, right

shoulder, left foot and knees;

€.) She was required to seek a physician’s care for her injuries and is
reasonably certain to require future professional care for these injuries;
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f.) She was required to take various medications as a result of her injuries,
and is reasonably certain to require furthcr medications in the future as a result of these

injuries;

g.) She has suffcred internal derangement of the injured members of her

body;

h.) She has expended or become obligated for various large sums of money in
endeavoring to cure or heal herself of her injuries and is reasonably certain to incur

additional such obligations in the future
and

i.) She has been prevented and limited, and is reasonably certain to be
prevented and limited in the future, from earning money and from participating in many

of his/her usual daily activities by reason of these injuries.

WHEREFORE, Plaintiff, Diana Cuddeback, prays judgment of her Complaint against
Defendant, Sam’s Club; for personal injuries in a sum in an amount in excess of Fifty Thousand

and 00/100 Dollars ($50,000.00), plus costs of suit.

foe bate
Earl W. Hubbs - 6196367
Reed and Bruhn, P.C.
Attorneys for Plaintiff
6464 W. Main Street, Suite 1B
Belleville, IL 62223
(618) 398-7027 ~ telephone
(618) 398-7911 — facsimile

 

 

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AFFIDAVIT
STATE OF ILLINOIS )
COUNTY OF ST. CLAIR
I, Diana Cuddeback, being first duly sworn upon oath, depose and state that the
allegations in the foregoing Complaint are true and correct to the best of my knowledge and

damages sought are in an amount in excess of Fifty Thousand and 00/100 Dollars ($50,000.00),

plus costs of suit.

 
    

DATE

uddeback

SUBSCRIBED AND SWORN TO before me this CYO Asay of Auly_. 2021.

 
    

NOTARY PUBLIC

 

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Electronically Filed
Kahalah A. Clay

Circuit Clerk

Elysia Agne

21L0674

St. Clair County

IN THE CIRCUIT COURT | 712119001 9:25 AN

OF THE TWENTIETH JUDICIAL CIRCUIT 14122423

ST. CLAIR COUNTY, ILLINOIS
DIANA CUDDEBACK, )
)
Plaintiff, )
)
VS. ) 21-L- 0674
)
WALMART, INC., A DELAWARE )
CORPORATION, d/b/a SAM’S WEST, INC., _)
AN ARKANSAS CORPORATION, d/b/a )
SAM’S CLUB, )
)
Defendant. )
ENTRY OF APPEARANCE

COMES NOW Reed and Bruhn, P. C., through Earl W. Hubbs, and hereby enters its

appearance herein on behalf of Plaintiff, Diana Cuddeback.

All further notices and communications intended for Plaintiff, Diana Cuddeback, should be

forwarded to the undersigned attorneys.

Get Celle
Earl W. Hubbs - 6196367
Reed and Bruhn, P.C.
Attorneys for Plaintiff
6464 West Main Street, Suite 1B
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